
Per Curiam.
An objection made by appellants to the judgment is that the judge, in estimating the fee value of the easements taken, included the effect of noise and vibration upon that value. This does not appear from any finding or conclusion. The assertion of it depends upon reasoning from the whole case. It is said whereas the damage in the past was adjudged to be at the rate of about sixty dollars a year, and the proportion of yearly rent to the fee value was proved to be about one-tenth of it, the finding that the fee value of the easements taken was $1,200 was founded upon an excessive valuation of the fee. The argument is that, as the past rental damage was sixty dollars yearly, the fee damage could not be more than $600. Upon this it is said that, to reach the conclusion that the fee damage was $1,200, the injury from noise and vibration must have been added. This conclusion is not necessarily correct. The two valuations did not regard the same times nor the same circumstances. Valuations are not always continuous. Increase or decrease of values is often sudden. In ascertaining a present value, the reasonable certainties of the future fix, with other elements, the present value. As in finding past damage, so in fee damage, it is competent to inquire if in the future, having in view the reasonable certainties of the future, the value of the future.would be more or less if the railroad was absent, This is a matter of fact, as is the amount of the difference, if any there would be. On this matter the court found for the plaintiff, and the appellants have not shown that there was *304error in the finding. The plaintiff is not primarily bound to show that the finding is incorrect. It is enough if he show that the defendants have not established error. Such error has not appeared in the evidence or facts.
Judgment affirmed, with costs.
